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                  UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                          STATE SBORO DIVISION


KIZVWANDA HOPKINS,

      Movant,

kv                                            Case No. CV614-025
                                                        CR612-Oil
UNITED STATES OF AMERICA,

      Respondent.

                  REPORT AND RECOMMENDATION

      Kizvwanda Hopkins moves for 28 U.S.C. § 2255 relief. Doe. 197.

Pursuant to a plea agreement (doe. 166) under which the government

agreed to drop one of two indictment counts, id. at 1, she pled guilty to

"Conspiracy to defraud the Government by false claims," in violation of

18 U.S. § 286. CR612-011, doe. 162 at 1.' The Court sentenced her to 52

months in prison. Id. at 2; see also doe. 191 (denying her subsequent

motion for early release); doe. 195 (denying her subsequent motion for a

sentence reduction). The agreement called upon her to waive both


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    All record citations are to the docket sheet for this criminal case. All pinpoint
citations are to the page number assigned by the Court's electronic filing system to
the upper right hand corner of each page.
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    the right to appeal the conviction and sentence and the right to
    collaterally attack the conviction and sentence in any post-
    conviction proceeding, including not limited to a § 2255 action, on
    any ground, EXCEPT that: the defendant may file a direct appeal
    of h[er] sentence if it exceeds the statutory maximum or if, by
    variance or departure, the sentencing court imposes a sentence
    higher than the advisory sentencing guideline range as found by
    the sentencing court. The governments right to appeal is not
    limited, BUT IF the government appeals the sentence imposed, the
    defendant may also file a direct appeal of the sentence.

Doe. 166 at 7 (emphasis added).'

       In moving for § 2255 relief, Hopkins doesn't even acknowledge her

waiver of the right to file this motion. Initially, she simply "laundry-

listed" half of her claims, see, e.g., doe. 197 at 8 (Ground Four: "Violation

of Ex Post Facto Clause"), including those asserting ineffective

assistance of counsel (IAC). 3 Id. at 10. She later filed a supporting brief,


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 Hence, her sentence-reduction motion probably could have been denied on these
grounds alone.

  "Those who seek habeas relief cannot simply laundry-list their claims and hope that
the court will develop (hence, litigate) them on their behalf. Holmes v. United States,
876 F.2d 1545, 1553 (11th Cir.1989) (no hearing required on claims "which are based
on unsupported generalizations"); Rodriguez v. United States, 473 F.2d 1042, 1043
(5th Cir.1973) (no hearing required where petitioner alleged no facts to establish
truth of his claims beyond bare conclusory allegations)." Jeffcoat v. Brown, 2014 WL
1319369 at * 8 (S.D. Ga. Mar. 27, 2014); Bartley v. United States, 2013 WL 6234694
at * 2-3 (S.D. Ga. Dec. 2, 2013) (§ 2255 claims bereft of argument and citation to the
record may be denied on pleading-deficiency grounds alone); see also Johnson v.
Razdan, 2014 WL 1689021 at * 2 (11th Cir. Apr. 30, 2014) ("Although pro se briefs
are to be construed liberally, a pro se litigant who offers no substantive argument on
an issue in his initial brief abandons that issue on appeal.").


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doe. 202, but none of her lAG claims challenge the voluntariness of her

plea -- an indispensable minimum needed to defeat a double waiver (of

both the right to a direct appeal and the right to collaterally attack the

conviction). See Fulmer v. United States, 2014 WL 1698880 at * 2 (S.D.

Ga. Apr. 29, 2014); McClendon v. United States, - F. Supp. 2d -,

2014 WL 358980 at * 2 (S.D. Ga. Mar. 10, 2014). Finally, Hopkins was

sentenced within the statutory and sentencing guidelines range. PSI at

15 ¶1154, 55. As in Fulmer and McClendon, which applied substantively

identical double waivers, this § 2255 motion was dead on arrival and thus

must be denied.

     Kizvwanda Hopkins's 28 U.S.C. § 2255 motion (doe. 197) should be

DENIED. Her time-extension motion (doe. 198) is DENIED as moot

(she has already filed her § 2255 motion, to which the government does

not object on timeliness grounds, doe. 200 at 1). Applying the Certificate

of Appealability (COA) standards set forth in Brown v. United States,

2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9, 2009) (unpublished), the Court

discerns no COA-worthy issues at this stage of the litigation, so no COA

should issue. 28 U.S.C. § 2253(c)(1); see Alexander v. Johnson, 211 F.3d

895, 898 (5th Cir. 2000) (approving sua sponte denial of COA before
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movant filed a notice of appeal). And, as there are no non-frivolous

issues to raise on appeal, an appeal would not be taken in good faith.

Thus, in forma pauperis status on appeal should likewise be DENIED.

28 U.S.C. § 1915(a)(3).

        SO REPORTED AND RECOMMENDED this (5lay of May,

2014.


                            UNITEiI) STATES MAGISTRATE JUDGE
                            SOUTHERN DISTRICT OF GEORGIA




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